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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ERIC WILKINS, MAHARI BELL,                       )
ESSENCE JEFFERSON, JOSE                          )
MANUEL ALMANZA, JR., AND                         )
JACQUEZ BEASLEY,                                 )
                                                 )
                                                 )      Case No. 23-cv-4072
                       Plaintiffs,               )
                                                 )      Hon. Mary M. Rowland
               v.                                )
                                                 )
CITY OF CHICAGO AND CHICAGO                      )
POLICE DEPARTMENT,                               )
                                                 )
                       Defendants.               )

           PLAINTIFFS’ MOTION FOR ENTRY OF CONFIDENTIALITY ORDER

       Pursuant to Federal Rule of Civil Procedure 26(c), Local Rule 37.2, and this Court’s

Standing Orders, Plaintiffs Eric Wilkins, Mahari Bell, Essence Jefferson, José Manuel Almanza,

Jr., and Jacquez Beasley (collectively, “Plaintiffs”), respectfully request entry of a confidentiality

order (“Plaintiffs’ Proposed Order”), which is based upon the Northern District of Illinois Model

Confidentiality Order, Form LR 26.2 (“Model Order”). 1 Plaintiffs’ Proposed Order is attached

hereto as Exhibit A, with differences between Plaintiffs’ Proposed Order and the Model Order

noted in redline.

       The parties have agreed on several alterations to the Model Order, including permitting

parties to designate certain particularly sensitive materials as Attorneys Eyes Only, and allowing

third party subpoena respondents to invoke the protections of the confidentiality order when


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        Per this Court’s standing order, redlined and clean Word versions of Plaintiffs’
Proposed Order will be e-mailed to the Court’s proposed order inbox upon the filing of this
motion.
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producing documents in this matter. However, as further described below, the parties disagree on

one issue: Whether Defendants may designate as Confidential documents and information that

may be exempt from disclosure under the Illinois Freedom of Information Act (“FOIA”).

        Plaintiffs respectfully submit that their proposed version of the confidentiality order better

adheres to the intent of the Model Order to limit confidentiality designations to truly sensitive

documents and information, and that the original language of ¶2(a) of the Model Order should be

entered. In further support of this motion, Plaintiffs state as follows:

                                         Scope of Discovery

       1.        On June 26, 2023, Plaintiffs filed a Class Action Complaint alleging that

Defendants’ program of subjecting Black and Latino drivers to high volumes of traffic stops, frisks,

and searches (the “Mass Traffic Stop Program”) violates Plaintiffs’ rights under the Fourteenth

Amendment Equal Protection Clause, Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d,

et seq., Article I, Section 2 of the Illinois Constitution, and the Illinois Civil Rights Act of 2003,

740 ILCS 23/5.

       2.        To establish their claims, Plaintiffs have requested from Defendants the following

types of data (among others), generally for the period 2015-present: all traffic stops made by the

Chicago Police Department (“CPD”); all calls for service (i.e., 911 calls) in the City of Chicago; all

arrests made by CPD; rosters of CPD officers and officer attendance and assignment sheets; all uses

of force by CPD; all traffic crashes recorded by CPD; and all red-light camera and speed camera

citations issued in Chicago. Importantly, Plaintiffs are not seeking copies of the underlying

documents, such as traffic stop reports or arrest reports (except for the named plaintiffs). Rather,

they seek electronic data reflecting the information requested.

       3.        Plaintiffs also seek categories of documents relating to Defendants’ decisions to



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initiate, maintain and support the Mass Traffic Stop Program, such as correspondence regarding

District Strategic Plans, and deliberative materials regarding Defendants’ strategies for deployment

of CPD personnel and decisions to focus on so-called “proactive” traffic stops in predominantly

Black and Latino neighborhoods in Chicago.

                 The Parties Dispute Paragraph 2(a) of the Protective Order

       4.       Defendants seek to alter ¶2(a) of the Model Order such that all information exempt

from disclosure under FOIA would automatically be subject to designation as Confidential.

Specifically, ¶2(a) of the Model Order permits a party to designate as Confidential “information

prohibited from disclosure by statute.” Defendants seek to expand ¶2(a) to cover “information

prohibited or exempted from disclosure by statute, including the Illinois Freedom of Information

Act (FOIA), 5 ILCS 140/1, et seq.”

       5.       FOIA does not “prohibit” disclosure of any documents. It does, however, allow

public bodies such as Defendants to refuse to produce certain documents should they wish to invoke

statutory exemptions. 5 ILCS 140/7(1). And Illinois FOIA contains scores of exemptions that

sweep far more broadly than the limited grounds for confidentiality designations contemplated in

the Model Order. Id.

       6.       For example, simply because FOIA permits public bodies to withhold “preliminary

drafts, notes, recommendations, memoranda, and other records in which opinions are expressed, or

policies or actions are formulated,” see id. 7(f), it does not follow that Defendants should be

permitted to designate all such drafts, notes, memoranda, and the like as Confidential in discovery

in this federal case—where Defendants’ decisions to initiate and continue the Mass Traffic Stop

Program form the core of Plaintiffs’ Monell allegations.

       7.       Moreover, Defendants’ proposal would place parties that are public bodies, and



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therefore are subject to FOIA, in a different position than non-governmental parties. Whether

specific documents or information should be considered confidential under Fed. R. Civ. P. 26(c)

should not be determined by whether the custodian of that information is a public body within the

meaning of FOIA or is a private litigant.

       8.       Plaintiffs respectfully submit that the original language of ¶2(a) of the Model Order

(“information prohibited from disclosure by statute”) should be adopted in this matter.

                            The Parties’ Efforts to Meet and Confer

       9.       Pursuant to Local Rule 37.2, counsel for the parties have met virtually and

conferred multiple times by email in an attempt to resolve their differences concerning a

confidentiality order. While the parties have been able to resolve nearly all of their disagreements,

they have been unable to resolve the issue concerning ¶2 discussed above.

       10.      Specifically, on October 5, 2023, counsel for the parties held their first Rule 26(f)

meeting by videoconference. Plaintiffs’ counsel asked whether Defendants were likely to seek a

confidentiality order. Defendants’ counsel stated that they intended to do so and would promptly

circulate a draft order based on the Model Order.

       11.      On November 14, 2023, Plaintiffs’ counsel followed up with Defendants’ counsel

by email and requested that Defendants provide a proposed confidentiality order. Defendants’

counsel emailed their proposed confidentiality order to Plaintiffs’ counsel on November 16, 2023.

       12.      Plaintiffs provided a marked-up draft to Defendants on November 29, 2023, to

which Defendants responded by email with a revised mark-up on December 14, 2023.

       13.      Counsel for the parties met and conferred by videoconference on December 15,

2023. Defendants agreed to consider Plaintiffs’ positions on a number of issues and respond further.

       14.      Defendants provided a further redline by email on December 28, 2023. On January



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4, 2024, Plaintiffs responded by email with a redline and an explanation of their positions. Plaintiffs

then prompted Defendants by email on January 16, 2024, seeking Defendants’ response to

Plaintiffs’ proposals. On January 19, 2024, Defendants sent a marked-up draft that stood on their

prior positions on the issues in dispute.

       15.      Upon receipt of Defendants’ final redline, on January 19, 2024, Plaintiffs’ counsel

replied by email seeking confirmation that Defendants intended to stand on their position regarding

the proposed FOIA exemption in ¶2(a) and attempting to explore whether a resolution was possible

on three other issues. Plaintiffs’ counsel requested a response by Monday, January 22. Plaintiffs’

counsel further stated their intention to seek entry of Plaintiffs’ Proposed Order on Tuesday, January

23, in advance of the status conference scheduled for Thursday, January 25.

       16.      On the afternoon of Tuesday, January 23, Defendants’ counsel responded by email,

confirming that the parties are at issue regarding the proposed FOIA exemption in ¶2(a). The parties

were able to resolve all other outstanding disputes regarding the protective order by email.

       WHEREFORE, Plaintiffs respectfully request entry of Plaintiffs’ Proposed Order, attached

 hereto as Exhibit A.

 Dated: January 23, 2024                        Respectfully Submitted,
                                                /s/ Alexandra K. Block
                                               Alexandra K. Block (ARDC # 6285766)
                                               Joshua M. Levin (ARDC # 6320993)
                                               ROGER BALDWIN FOUNDATION OF ACLU, INC.
                                               150 N. Michigan, Suite 600
                                               Chicago, IL 60601
                                               Phone: (312) 201-9740
                                               Fax: (312) 201-9760
                                               ABlock@aclu-il.org
                                               JLevin@aclu-il.org

                                               Sheldon L. Solow (ARDC # 2673061)
                                               Patrick Derocher (ARDC # 3668891)
                                               Cate Baskin (ARDC # 6343199)
                                                   5
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                                 ARNOLD & PORTER KAYE SCHOLER LLP
                                 70 West Madison Street, Suite 4200
                                 Chicago, IL 60602-4231
                                 Phone: (312) 583-2300
                                 Fax: (312) 583-2360

                                 John A. Freedman (pro hac vice)
                                 Joshua M. Davis (pro hac vice)
                                 Stacey Menjivar (pro hac vice)
                                 ARNOLD & PORTER KAYE SCHOLER LLP
                                 601 Massachusetts Ave., N.W.
                                 Washington, D.C. 20001-3743
                                 Phone: (202) 942-5000
                                 Fax: (202) 942-5999

                                 Andrew Hannemann (pro hac vice)
                                 Mikaila O. Skaroff (pro hac vice)
                                 ARNOLD & PORTER KAYE SCHOLER LLP
                                 Three Embarcadero Center, 10th Floor
                                 San Francisco, CA 94111-4024
                                 Phone: (415) 471-3100
                                 Fax: (415) 471-3400




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